Dear Mr. Mims:
You have requested this office to issue an advisory opinion as to whether the village of Dubberly is obligated to supply general liability insurance coverage for the chief of police as well as for the mayor, alderman, and other employee's of the village.
La.R.S. 33:5153 covers the power of municipalities to contract for group liability insurance. It states specifically:
     Any political subdivision of this state may make contracts of insurance with any insurance company legally authorized to do business in this state insuring their officers, employees, agents, and officials, elected, appointed, or hired, under policies of group liability insurance, against any personal liability that may arise as a result of their actions taken within the scope and discharge of their duties as public officers, agents, officials, or employees.
Therefore, according to this statute, a political subdivision such as a village may, but is under no obligation, to provide liability insurance coverage to its chief of police, mayor, alderman, or other employees. No statute stipulates that a political subdivision must provide certain officials and employees with personal liability insurance coverage. Our office has previously held that a city may provide coverage to a chief of police. Please see Atty. Gen. Op. 00-483 (attached).
I trust the above opinion has answered you questions. Should you have any further questions, please contact this office.
Very truly yours,
                             RICHARD P. IEYOUB ATTORNEY GENERAL
                        By:  _____________________ CHARLES H. BRAUD JR. Assistant Attorney General
RPI/CHB;mjb
OPINION NUMBER 00-483
January 5, 2001
                                Syllabus
54 INSURANCE 90-A2 PUBLIC FUNDS 71 MUNICIPALITY
La.R.S. 33:5153, Article 7, Section 14 of Louisiana Constitution
The Carencro governing authority may provide its Chief of Police a lump sum car allowance provided that the appropriate taxes are withheld or it may reimburse the Chief of Police for the actual mileage traveled in the performance of his public duties provided that adequate documentation is submitted reflecting the miles traveled. The Carencro governing authority may contract for insurance to insure its Chief of Police against any personal liability which may arise in the course and scope of his employment.
Mr. Jimmy Duhon Chief of Police Carencro City Police 121 Andre' Street P.O. Drawer 10 Carencro, Louisiana 70520
Dear Mr. Duhon:
We received your request for an opinion regarding the authority of the Carencro governing authority to reimburse you for the use of your personal vehicle in the performance of your duties as Chief of Police. You also question the authority of the governing authority to insure your vehicle for those times when it is being used in fulfillment of your public duties.
Our office previously opined that a public employee may be reimbursed for travel expenses. The reimbursement may be done as follows. First, the employee may be reimbursed for the actual mileage traveled in performance of his public duties at a mileage rate established by the governing authority. Adequate documentation of the mileage must be submitted to the governing authority. This procedure provides for a true reimbursement of actual expenses. Second, the governing authority may provide you with a lump sum car allowance. However, if this is done, the governing authority must treat the allowance as additional compensation and the appropriate taxes must be withheld. Attorney General Opinion 94-244. If one of these procedures is not utilized by the governing authority, the allowance or reimbursement may violate Article 7, Section14 of the Louisiana Constitution which prohibits the donation, loan, or pledge of public funds.
La.R.S. 33:5153 provides that any political subdivision of the state may contract for insurance to insure its officers, employees, agents and officials against any personal liability that may arise in the course and scope of their duties as public officers, agents, officials or employees. Thus, the Carencro governing authority may insure you against any personal liability arising from driving a personal vehicle while in the course and scope of your employment as Chief of Police.
In sum, it is our opinion that the Carencro governing authority may provide you with a lump sum car allowance provided that the appropriate taxes are withheld or it may reimburse you for the actual mileage traveled in the performance of your public duties provided that adequate documentation is submitted to the governing authority reflecting the actual miles traveled. It is further our opinion that the governing authority may contract for insurance to insure you against any personal liability that may arise in the course and scope of your employment as Chief of Police.
We trust that this adequately responds to your request. If you have any questions or comments, please do not hesitate to contact our office.
With kindest regards,
Very truly yours,
                             RICHARD P. IEYOUB ATTORNEY GENERAL
                             __________________________ TINA VICARI GRANT Assistant Attorney General
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